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AO 442 (Rev. [L/IL) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America

v. Case: 1:21-mj-00105
on . Assigned to: Judge Faruqui, Zia M.
Vitall Goss Jankowski ) Assign Date: 1/18/2021

) Description: COMPLAINT W/ARREST WARRANT
)

_ )

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Vitali GossJankowski .
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment O Superseding Indictment O Information © Superseding Information & Complaint
QO Probation Violation Petition C) Supervised Release Violation Petition O Violation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. 1752(a) and (b)(1)(A)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority while Using or Carrying a Dangerous Weapon

40 U.S.C. 5104(e)(2)- Violent Entry and Disorderly Conduct on Capitol Grounds ue 3021.01.18
HS 10:15:27
Date: 01/18/2021 -05'00'

issuing officer's signature

City and state: _ Washington, DC Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title

 

Return

 

 

This warrant was ‘Wachigm DC on (date) O i \Yaoal , and the person was arrested on (date) of 1/03

at (city and state)

Date: O / oon

 

  

Arresting officer's signature

Steven Caldvelt DEO

Cald name and ttile

 

 
